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    ~o 245B (CASD) (Rev. 1112)     Judgment in a Criminal Case
                Sheet 1                                                                                                               ."'~-   ~~"\
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                                              UNITED STATES DISTRICT COURT41r.11 2J ~,i' 8: 24
                                                  SOUTHERN DISTRICT OF CALIFORNIA
                    UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE                                      (\S"
                                        v.                                           (For Offenses Committed On or After November I, 1b'~7)

                             David Jose Rico -2                                      Case Number: 13-cr-00472-JAH-2

                                                                                     Jack J Boltax
                                                                                     Defendant's Attorney
    REGISTRATION NO. 35725298

    D
    THE DEFENDANT:
    D pleaded guilty to count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     181 was found guilty on count(s)_O:::,::n:,e.:an::;d:.,::tw::..o::,:._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not guilty.
          Accordingly, the defendant is adjudged guilty of such count( s), which involve the following offense(s):
                                                                                                                                               Count
     Title & Section                         Nature of Offense                                                                                Number(s)
18:1591(a) and (b);                   Trafficking of Children; Conspiracy to Engage in Sex Trafficking of Children                                I
18:1594(c); 18: 1594(d)
18:1591(a) and (b);                   Sex Trafficking of Children; Aiding and Abetting                                                            2
18:2; 18:1594(d)




        The defendant is sentenced as provided in pages 2 through                4          of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
  D The defendant has been found not guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
  D Count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is D                                       are   D dismissed on the motion ofthe United States.
  181 Assessment: $100.00 as to each count.

  181 No fine                                       D Forfeiture pursuant to order filed _ _ _ _ _ _ _ _ _ , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until alI fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.




                                                                                                                                              13-cr-00472-JAH-2
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AO 245B {CASD} (Rev. IIl2) Judgment in a Criminal Case
           Sheet 2 Imprisonment

                                                                                             Judgment   Page _ _2 _ of
 DEFENDANT: David Jose Rico -2
 CASE NUMBER: 13-cr-00472..JAH-2
                                                           IMPRISONMENT
         The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of
         Ctl: One hundred, thirty months,
         Ct2: One hundred, thirty months concurrent to count one.


    D Sentence imposed pursuant to Title 8 USC Section 1326(b).
    181 The court makes the following recommendations to the Bureau of Prisons:
         The Court recommends the Residential Drug Abuse Program and that custody be served in the Western Region.




     D The defendant is remanded to the custody of the United States Marshal.

     D The defendant shall surrender to the United States Marshal for this district:
           D at                                   Da.m.      Dp.m.         on
               as notified by the United States Marshal.

     D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          D    before
          D
                        ---------------------------------------------------------------
               as notified by the United States Marshal.
          D    as notified by the Probation or Pretrial Services Office.


                                                                RETURN

 I have executed this judgment as follows:

         Defendant delivered on                                                    to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                            UNITED STATES MARSHAL


                                                                       By _________~~~~==~~~~~~--------
                                                                                        DEPUTY UNITED STATES MARSHAL




                                                                                                                13-cr-00472..JAH-2
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AO 2458 (CASD) (Rev. 1/12) Judgment in a Criminal Case
           Sheet 3 - Supervised Release
                                                                                                               Judgment Page - - l - of _~4~_ _
DEFENDANT: David Jose Rico -2
CASE NUMBER: 13-cr-00472-JAH-2
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
Cts 1 and 2: Five years, concurrent.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a ~on.trolled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two penodlc drug !ests
thereafter as determined by the court. Testing requirements will not exceed submission of more than _4_drug tests per month dunng
the term of supervision, unless otherwise ordered by court.
o The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
        The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
        Backlog Elimination Act of 2000, pursuaT)t to 18 USC sections 3563(a)(7) Ipld 3.583(d).      .    .                                         .
        The defendant shall comply WIth tlie reqUIrements of the Sex Offender'Reglstratton and Notificatlon Act (42 U .S.c. § 1690 I, et seq.) as dIrected
        by the probation officer, the Bureau ofPrisons, or any state sex offender registration agency in which he or she resides, works, is a student. or
        was convicted of a qualifying offense. (Check if applicable.)
o       The defendant shall participate in an approved program for domestic violence. (Check. if applicable.)
           If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fme
 or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
 forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
 any special conditions imposed.

                                         STANDARD CONDITIONS OF SUPERVISION
   1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
   3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)     the defendant shall support his or her dependents and meet other family responsibilities;
   5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
   6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)     the defendant shall refrain from excessive use of alcohol and shall not purchase. possess, use. distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
          a felony. unless granted permission to do so by the probation officer;
  10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
  11)     the defendant shall notify the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
  12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
  13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to conftrm the
          defendant's compliance with such notification requirement.

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    AO 245B    (Rev. 9100) Judgment in a Criminal Case
               Sheet 3 - Continued 2 - Supervised Release
                                                                                            Judgment-Page _4_ of                 4
    DEFENDANT:               David Jose Rico
    CASE NUMBER:             13CR0472-JAH-2

                                     SPECIAL CONDITIONS OF SUPERVISION


 1. Submit your person, property, house, residence, vehicle, papers, computer, electronic communications or data storage devices or
media, and effects to search at any time, with or without a warrant, by any law enforcement or probation officer with reasonable
suspicion concerning a violation of a condition of probation/supervised release or unlawful conduct, and otherwise in the lawful
discharge of the officer's duties. 18 U.S.C. §§ 3563 (b)(23); 3583 (d)(3).

2. Complete a sex offender evaluation, which may include periodic psychological, physiological testing, and completion of the ABEL
assessment, at the direction ofthe court or probation officer; and that the offender participate and successfully complete an approved
state-certified sex offender treatment program, including compliance with treatment requirements of the program. You shall remain in
treatment until your therapist is of the opinion that you have successfully met all of the treatment goals and is ready to terminate
treatment. The offender will allow reciprocal release of information between the probation officer and the treatment provider. The
offender may also be required to contribute to the costs of services rendered in an amount to be determined by the probation officer,
based on ability to pay.

3. Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as directed
by the probation officer. Allow for reciprocal release of infonnation between the probation officer and the treatment
provider. May be required to contribute to the costs of services rendered in an amount to be detennined by the probation officer, based
on ability to pay.

4. Not use or possess devices which can communicate data via modem or dedicated connection and may not have access to the
Internet without prior approval from the court or the probation officer. The offender shall consent to the installation of
systems that will enable the probation officer to monitor computer use on any computer owned or controlled by the offender. The
offender shall pay for the cost of installation of the computer software.

5. Not accept or commence employment or volunteer activity without prior approval ofthe probation officer, and employment should
be subject to continuous review and assessment by the probation officer.

6. Not have any contact, direct or indirect, either telephonically, visually, verbally or through written material, or through any third­
party communication, with the victim or victim's family, excluding Matthew Kelly, without prior approval ofthe probation officer. (It
is noted, the victim is the defendant's sister-in-law.)

7. Reside in a residence approved in advance by the probation officer, and any changes in residence shall be pre-approved by the
probation officer.

8. The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et.
seq.) as directed by the probation officer, the Bureau of Prisons, or any other state sex offender registration agency in which he
resides, works or is a student or was convicted of a qualifYing offense.

9. Not associate with known prostitutes or pimps, or loiter in areas know to be frequented by those engaged in prostitution.

10. Provide the probation officer with an address or addresses where you reside or where you will be staying during the period of
supervise release.
